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CaseNo.; 2; 1\+@¢_10111:11\1,3@1_1111\1\ FT. ma s. woman
MICHAEL sPEIDEL,
Plaintif`f,
VS.

AMERICAN HONDA FlNANCE CORP. dfb)’a
HONDA FINANCIAL SERVICES,

Defendant.
f

 

])EFENDANT’S NOTICE ()F REMOVAL

'l`he Defendant, AMER]CAN HONDA FINANCE CORPORATION (“AHFC"),
improperly named herein as AMERICAN HONDA FINANCE CORP. d/b/a I~IONDA
FINANCIAL SERVICES, hereby liles this Notice of Removal of" an action pending in the
County Court of the 'l`wentieth .ludicial Circuit in and for Collier Cou.nty, Florida, to the United
States District Court for the Middle District of Florida, Fort Myers Division, and states:

]. On or around Deceniber 13, 2013, the Plaintiff, MlCHAEL SPEIDEL,
commenced an action against the Defendants in the County Court of the Twentieth Judicial
Circuit in and f`or Collier County, Florida, styled Michael Sper`del vs_ Amerz`cm: Honda Ffiicmce
Corp. d/b/a Honda F:`na)rci`a! .S`e)'vfces, Case No.: llZOlBSCUOIGS?OOOlXX (the “State Court
Action”). See Complaint, dated December 13, 2013, attached hereto as E)thibit A.

2. On December 16, 2013, Plaintiff served the Cornplaint on Defendant.

3. In the Complaint, Plaintiff asserts a cause of action entitled Violations Undcr the

Telephonc Consumer Protection Act of 1991 (TCPA), 4? U.S.C.S. §22'?. Plaintifi` also asserts

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causes of action for Violation of the Florida Consumer Collection Practices Act, Injunctive
Relief, and Declaratory Relief.

4. In compliance with 28 U.S.C. §l446(b), this action is timely filed within thirty
(30) days “aiier the receipt by the defendant, through service or otherwise, of a copy of the initial
pleading setting forth the claim for relief upon which such action or proceeding is based.” 28
U.S.C. §l446(b)(l). Moreover, Plaintiff commenced the State Court Action less than one year
prior to the filing of this Notice.

5. True and legible copies of all process, pleadings and orders that have been filed or
served in the State Court Action are attached to this Notice as Composite Exhibit B.

6. This Court has original jurisdiction of this action by virtue of federal question
jurisdiction, as defined in 28 U.S.C. §1332, because Count IV asserted in the Complaint arises
under the laws of the United States. More specifically, this Court has original jurisdiction
because Plaintiff asserts an action under the Telephone Consumer Protection Act of 1991
(TCPA), 47 U.S.C.S. §227. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 181 L.Ed. 2d
881 (2012). This Court also has supplemental jurisdiction over the other causes of action
asserted in the Complaint.

7. The removal of this cause is authorized by the provisions of 28 U.S.C. §1441, et
seq.

8. AHFC is the only defendant in this action and, thus, consents to the removal of
this action.

9. Pursuant to 28 U.S.C. §l446(d), written notice of the filing of this Notice of

Removal has been served this date upon Plaintiff by serving Plaintiff’ s counsel of record in the

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State Court Action, and upon the Clerk of the Circuit Court of the Twentieth Judicial Circuit in
and for Collier County, Florida for filing therein.

WHEREFORE, the Defendant, AMERICAN HONDA FINANCE CORPORATION
(“AHFC”), improperly named herein as AMERICAN HONDA FlNANCE CORP. d/b/a
HONDA FINANCIAL SERVICES, respectfully requests that this action now pending in the
County Court of the Twentieth Judicial Circuit in and for Collier County, Florida, be removed to
the United States District Court for the Middle District of Florida, Fort Myers Division.

CERTIF[CATE OF SERVICE

l I~IEREBY CER'I`IFY that a true and correct copy of the foregoing was served via e-mail
on this 14‘h day of .lanuary 2014 to: Marcus W. Viles, Viles & Beckman, LLC, 6350 Presidential
Court, Suite A, Fort Myers, FL 33919.

WILSON, ELSER, MOSKOWITZ,
EDELMAN & DICKER LLP

Altorneys for Defendant

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